                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                               No. CR03-4005-DEO
 vs.                                          REPORT AND RECOMMENDATION
                                                 ON PETITION TO REVOKE
 BRUCE GEORGE LeGEAR,
                                                  SUPERVISED RELEASE
               Defendant.
                                ____________________


       This matter came on for hearing on February 10, 2009, for a report and
recommendation on the plaintiff’s motion to revoke the defendant’s term of supervised
release. The plaintiff (the “Government”) was represented by Assistant United States
Attorney Robert Knief. The defendant Bruce George LeGear was present in person with
his attorney, Jay Denne. The parties announced they have reached an agreement regarding
the Government’s petition to revoke LeGear’s term of supervised release. The parties have
agreed that the petition should be granted, LeGear’s term of supervised release should be
revoked, and he should be sentenced to twelve months and one day in prison, with no
further term of supervision following his release. The court will engage in the required
analysis to determine whether the parties’ agreement is acceptable under the applicable
statutes.
       On October 22, 2003, LeGear was sentenced by the Honorable Donald E. O’Brien
to forty months’ incarceration after pleading guilty to one count of conspiracy to
manufacture methamphetamine within 1,000 feet of a protected location and inducing a
person under age eighteen to manufacture methamphetamine, in violation of 21 U.S.C.
§§ 841(a)(1), 841(b)(1)(C), 846, 860(a), and 861(a)(1). See Doc. No. 188. He was
ordered to be on supervised release for six years following his release from imprisonment.
He began his period of supervised release on May 16, 2005.


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       On June 23, 2005, a petition to revoke LeGear’s supervised release was filed by the
Government after LeGear was arrested on drug charges in Nebraska, he failed to attend
substance abuse treatment as ordered, and he submitted a urine sample that tested positive
for drugs. See Doc. No. 213. LeGear was not seen in this court on the petition until after
his release from prison in Nebraska. On May 18, 2007, LeGear’s term of supervised
release was revoke, and he was sentenced to an additional sixty days in prison. See Doc.
No. 242. Upon his release, LeGear began his remaining thirty-five-month term of
supervised release on July 2, 2007. He moved into a residential re-entry center, and then
requested permission to relocate to the District of Arizona, to be close to his mother and
sister. On December 15, 2007, he was discharged successfully from the residential re-
entry center, and he moved to Arizona.
       On June 9, 2008, U.S. Probation Officer Sandra L. Dodge filed a petition for
issuance of a warrant for LeGear’s arrest based on alleged violations of his conditions of
supervised release. Dodge alleged LeGear had failed to appear for a scheduled mental
health assessment, and after he finally did appear, he failed to comply with the treatment
recommendations that resulted from the assessment. She further alleged LeGear provided
urine samples on three occasions that tested positive for drugs; on two other occasions, he
did not submit urine samples but confirmed that if he had, they would have tested positive
for drugs; and he failed to submit urine samples on five occasions. In addition, LeGear
failed to maintain contact with his probation officer as required, and his whereabouts were
unknown between April 2008 and the time of his arrest in December 2008. Because of his
continuing violations, the District of Arizona transferred LeGear’s supervision back to this
district. See Doc. No. 260.
       At the revocation hearing, LeGear stipulated and admitted to all of the violations
alleged in the petition for revocation. The court therefore finds “by a preponderance of
the evidence that the defendant violated a condition of his supervised release.” United


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States v. Hall, 984 F.2d 387, 390 (10th Cir. 1993) (citing 18 U.S.C. § 3583(e)(3)).
Having so found, 18 U.S.C. § 3583(e) requires the court to consider certain specified
factors set forth in 18 U.S.C. § 3553(a), in making a determination as to whether the
defendant’s term of supervised release should be terminated, extended, modified, or
revoked. Although the court is not required to cite each relevant factor in section 3553(a),
see United States v. Franklin, 397 F.3d 604, 607 (8th Cir. 2005), the relevant factors are
set forth here for the convenience of the district court in reviewing this Report and
Recommendation:
       (a)    . . . The court, in determining the particular sentence to be
              imposed, shall consider –

              (1) the nature and circumstances of the offense and the history
              and characteristics of the defendant;
              (2) the need for the sentence imposed –
                     * * *
                     (B) to afford adequate deterrence to criminal conduct;
                     (C) to protect the public from further crimes of the
                     defendant; and
                     (D) to provide the defendant with needed educational
                     or vocational training, medical care, or other
                     correctional treatment in the most effective manner;
              * * *
              (4) the kinds of sentence and the sentencing range established
              for –
                     * * *
                     (B) in the case of a violation of probation or supervised
                     release, the applicable guidelines or policy statements
                     issued by the Sentencing Commission pursuant to
                     section 994(a)(3) of title 28, United States Code, taking
                     into account any amendments made to such guidelines


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                       or policy statements by act of Congress (regardless of
                       whether such amendments have yet to be incorporated
                       by the Sentencing Commission into amendments issued
                       under section 994(p) of title 28);
               (5) any pertinent policy statement –
                       (A) issued by the Sentencing Commission pursuant to
                       section 994(a)(2) of title 28, United States Code,
                       subject to any amendments made to such policy
                       statement by act of Congress (regardless of whether
                       such amendments have yet to be incorporated by the
                       Sentencing Commission into amendments issued under
                       section 994(p) of title 28); and
                       (B) that, except as provided in section 3742(g), is in
                       effect on the date the defendant is sentenced[;]
               (6) the need to avoid unwarranted sentence disparities among
               defendants with similar records who have been found guilty of
               similar conduct; and
               (7) the need to provide restitution to any victims of the
               offense.
18 U.S.C. § 3553(a). See 18 U.S.C. § 3583(e). After considering these factors, the court
may terminate, extend, revoke, or modify the term of supervised release as set forth in
section 3583(e). Accordingly, the court turns to consideration of the factors set forth
above.


A.       Nature and circumstances of offense, and LeGear’s history and characteristics
         LeGear’s original offense and his prior revocation sentence arose from his
involvement with illegal drugs.        The record indicates LeGear was involved in
manufacturing methamphetamine, and he dragged others, including a juvenile, into his
drug activities. He has demonstrated an ongoing inability to stay away from illegal drugs,
indicating he has a serious drug addiction problem himself. This factor weighs heavily in
favor of revocation.

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B.     Deterrence of criminal conduct
       Any modification of supervised release imposed upon LeGear must “afford adequate
deterrence to criminal conduct.” 18 U.S.C. § 3553(1)(2)(B). The court finds there are
no modifications of the terms of supervised release that would adequately deter further
criminal conduct by LeGear. Accordingly, revocation is appropriate.


C.     Protection of the Public from Further Crimes
       As stated above, the court finds there are no modifications of the terms of LeGear’s
supervised release that would result in adequate protection of the public from further
crimes. He appears to have an uncontrollable drug habit that makes him incapable of
successful supervision at this time. Therefore, revocation is appropriate.


D.     Defendant’s Need for Educational or Vocational Training, Medical Care,
       or Other Correctional Treatment in the Most Effective Manner
       There is no evidence regarding LeGear’s need for educational or vocational
treatment, or other correctional treatment.


E.     Sentencing Considerations
       The statute requires the court to consider pertinent policy statements issued by the
United States Sentencing Commission, in effect at the time of LeGear’s sentencing. 18
U.S.C. § 3553(a)(5). The court finds two such policy statements to be relevant to this
inquiry. The first, Classification of Violations, U.S.S.G. § 7B1.1 (Policy Statement), sets
forth three grades of supervised release violations. has committed Grade C violations. A
Grade C violation consists of:
              conduct constituting (A) a federal, state, or local offense
              punishable by a term of imprisonment of one year or less; or
              (B) a violation of any other condition of supervision.


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Having so found, the Court looks to the Sentencing Commission’s instructions upon a
finding of a Grade C violation:
              Upon a finding of a Grade C violation, the court may (A)
              revoke probation or supervised release; or (B) extend the term
              of probation or supervised release and/or modify the condi-
              tions of supervision.
U.S.S.G. § 7B1.3(a)(2), Revocation of Probation or Supervised Release (Policy
Statement).
       Upon revocation, the recommended range of imprisonment pursuant to the
Sentencing Guidelines, based upon LeGear’s criminal history category at the time of his
original sentence, would be three to nine months, utilizing the Revocation Table at
U.S.S.G. § 7B1.4 (Policy Statement). Pursuant to 18 U.S.C. § 3583(e)(3), the maximum
revocation sentence is twenty-two months for a Class C felony.


F.     Sentencing Disparities
       The final consideration is whether the court’s decision here will result in
“unwarranted sentence disparities among defendants with similar records who have been
found guilty of similar conduct[.]” 18 U.S.C. § 3553(a)(6). The court finds it will not.


G.     Recommendation
       Upon consideration of all of the above factors, the court finds LeGear’s term of
supervised release should be revoked. The court further recommends the district court
accept the parties’ agreement and sentence LeGear to twelve months and one day in prison,
with no further term of supervision following his release.




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                                           CONCLUSION
        Based upon the foregoing analysis, IT IS RESPECTFULLY RECOMMENDED,
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unless any party files objections             to this Report and Recommendation, that the
Government’s motion to revoke LeGear’s supervised release be granted, and LeGear be
sentenced as set forth above.
        The court anticipates no objections based on the parties’ agreement. However, if
any party objects to this Report and Recommendation, objections must be filed by
February 16, 2009.
        IT IS SO ORDERED.
        DATED this 12th day of February, 2009.




                                                PAUL A. ZOSS
                                                CHIEF MAGISTRATE JUDGE
                                                UNITED STATES DISTRICT COURT




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         Objections must specify the parts of the report and recommendation to which objections are made,
as well as the parts of the record forming the basis for the objections. See Fed. R. Civ. P. 72.

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